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                                          Medicare+Choice Organization

                                Electronic Data Interchange Enrollment Form

      MANAGED CARE ELECTRONIC DATA INTERCHANGE (EDI) ENROLLMENT FORM

                           ONLY for the Collection of Risk Adjustment Data and/or

                                  With Medicare+Choice Eligible Organizations

 The eligible organization agrees to the following provisions for submitting Medicare risk adjusbnent data electronically to
                      The Centers for Medicare & Medicaid Services (CMS) or to CMS's contractors.

 A.   lh~_Eligible_Qrgan~aUQn_~g~e_e_~

          1. That it will be responsible for all Medicare risk adjustment data submitted to CMS by itself, its employees, or
             its agents.

         2.   That it will not disclose any information concerning a Medicare beneficiary to any other person or
              organization, except CMS and/or its contractors, without the express written permission of the Medicare
              beneficiary or his/her parent or legal guardian, or where required for the care and treatment of a beneficiary
              who is unable to provide written consent, or to bill insurance primary or supplementary to Medicare, or as
              required by State or Federal law.

         3. That it will ensure that every electronic entry can be readily associated and identified with an original source
            document. Each source document must reflect the following information:

                                                                        •   Beneficiary's name,
                                                                        •   Beneficiary's health insurance claim number,
                                                                        •   Date(s) of service,
                                                                        •   Diagnosis/nature of illness



         4. That the Secretary of Health and Human Services or his/her designee and/or the contractor has the right to
            audit and confirm information submitted by the eligible organization and shall have access to all original
            source documents and medical records related to the eligible organization's submissions, including the
            beneficiary's authorization and signature.

         5. Based on best knowledge, information, and belief, that it will submit risk adjustment data that are accurate,
            complete, and truthful.

         6. That it will retain all original source documentation and medical records pertaining to any such particular
            Medicare risk adjustment data for a period of at least 6 years, 3 months after the risk adjustment data is
            received and processed.

         7. That it will affix the CMS-assigned unique identifier number of the eligible organization on each risk
            adjustment data electronically transmitted to the contractor.

         8. That the CMS-assigned unique identifier number constitutes the eligible organization's legal electronic
            signature.




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          9.   That it will use sufficient security procedures to ensure that all transmissions of documents are authorized and
               protect all beneficiary-specific data from improper access.

         10.   That it will establish and maintain procedures and controls so that infonnation concerning Medicare
               beneficiaries, or any infomation obtained from CMS or its contractor, shall not be used by agents, officers, or
               employees of the billing service except as provided by the contractor (in accordance with§ 1106(a) of the Act).

         11.   That it will research and correct risk adjustment data discrepancies.

         12.   That it will notify the contractor or CMS within 2 business days if any transmitted data are received in an
               unintelligible or garbled fonn.

  8.   '.{he_Cente_rs_foi:....Medicate_&_Me_dic~id_S_ervic_es_Agc_e_es_'(.o~

                  1.   Transmit to the eligible organization an acknowledgment of risk adjustment data receipt.

                  2.   Affix the intennediary/carrier number, as its electronic signature, on each response/report sent to the
                       eligible organization.

                  3.   Ensure that no contractor may require the eligible organization to purchase any or all electronic
                       services from the contractor or from any subsidiary of the contractor or from any company for which
                       the contractor has an interest.

                  4.   The contractor will make alternative means available to any electronic biller to obtain such services.

                  5. Ensure that all Medicare electronic transmitters have equal access to any services that CMS requires
                       Medicare contractors to make available to eligible organizations or their billing services, regardless of
                       the electronic billing technique or service they choose. Equal access will be granted to any services the
                       contractor sells directly, indirectly, or by arrangement.

                  6.   Notify the provider within 2 business days if any transmitted data are received in an unintelligible or
                       garbled fonn.




       Federal law shall govern both the interpretation of this document and the appropriate jurisdiction and venue for
       appealing any final decision made by CMS under this document.

       This document shall become effective when signed by the eligible organization. The responsibilities and obligations
       contained in this document will remain in effect as long as Medicare risk adjustment data are submitted to CMS or the
       contractor. Either party may tenninate this arrangement by giving the other party (30) days written notice of its intent
       to tenninate. In the event that the notice is mailed, the written notice of termination shall be deemed to have been
       given upon the date of mailing, as established by the postmark or other appropriate evidence of transmittal.

  C.   Signaiut~

I am authorized to sign this document on behalf of the indicated party and I have read and agree to the foregoing provisions
and acknowledge same by signing below.

Eligible Organization's

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cc: Regional Offices

                        Please retain a copy of all fonns submitted for your records.

                          Complete and mail this fonn with original signature to:

                                         M+cO EDI Enrollment

                                        P.O. Box 100275, AG-570

                                        Columbia, SC 29202-3275




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                                                                      OVkTIONS
                                                            '   AUnitedHealth 6nq) Company

                                                Lynn Gendreau, Director
                                                Ovations Medicare Operations
                                                MN008-W140 9900 Bren Road East Minnetonka MN 55343
                                                Tel 952-936-3241 Fax 952-936-3080


 MEMORANDUM

 To:            Jocelyn Williams
                CSSC Operations AG-570

 Cc:            William DeYoung

 From:          Lynn Gendreau

 Date:          April 18, 2005

 Subject:       Additional H# contracts for Submitter ID SH0151


 Dear Ms. Williams,

 We have one additional H# that needs to be added to United Health submitter ID-SHOISl.
 Attached is also the required EDI Enrollment Form request signed by our Chief Financial
 Officer, Joseph Hafennan.

 They are as follows:

 H0401          UnitedHealthcare of Arkansas, Inc.
 H0624          Evercare Premier - Colorado
 Hllll          UnitedHealthcare of Georgia, Inc.
 HIJOJ          United HealthCare Insurance Company - Idaho
 Hl509          United HealthCare Insurance Company- Indiana
 l:IJ.1+t-      United HealthCare Insurance Company- Kansas
  H2001         United HealthCare Insurance Company - Maine
  H2003         United HealthCare Insurance Company - Evercare Maine
  H3113         Oxford Health Plans of New Jersey, Inc. -Evercare New Jersey
  H3209         Evercare New Mexico
  H3812         United HealthCare Insurance Company - Oregon
  H3921
  H4106
                United HealthCare Insurance Company- Pennsylvania
                Evercare Premier - Rhode Island
                                                                                               RECEIVED
  H4522         United HealthCare Insurance Company - New Mexicotrexas                         APR 192005
  H5008         Evercare Washington
  H5424         United HealthCare Insurance Company - Hawaii                                  MEDICARE PART A
. H5440         Evercare Premier - Florida                                                   DOCUMENT CON11D.

 Attachment: EDI Enrollment Form
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                                             ID #:2425



                                                                 d OVkTIONS
                                                                    A UnitedHealthGroupCompany


                                                     Lynn Gendreau, Director
                                                     Ovations Medicare Operations
                                                     MN008-W140 9900 Bren Road East Minnetonka MN 55343
                                                     Tel 952-936-3241 Fax 952-936-1080


    MEMORANDUM

    To:            Jocelyn Williams
                   CSSC Operations AG-570

    Cc:            William DeYou.J \.~k~
    From:          Lynn Gendreau ~

    Date:          February 3, 2005

    Subject:       Additional H# contracts for Submitter ID SH051

    Dear Ms. Williams,

    Per your conversation with William DeYoung, we need to add additional H# contracts to the
    United Health submitter ID - SH051. Attached is also the required EDI Enrollment Form
    request signed by our Chief Financial Officer, Joseph Hafermann.

  They are as follows:
  H4406          United Healthcare of Tennessee, Inc.
  H03 l9         Evercare Arizona
  H0315          Evercare Arizona PPO
  H0620          Evercare Colorado
  H54 l 7        Evercare Florida
  H 1108         Evercare Georgia
  H2 l 1l        Evercare Maryh~nd         n -r_
< H2228          Evercare Massichusetts >K
 ~               Evercare Rhoie Island
  H2408          United Health Care Insurance Co of Illinois - Private-Fee-For-Service
  H4604          Salt Lake City                                                    I
) H3326          United Health Care Insurance Co of New York - PPO l           17oa.d
                                                                                 c;\ o°N

    Please let me know if you need any additional information or clarification.

    Thank you in advance.

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    Attachment: EDI Enrollment Form                                                                  FEB 0 4 2005
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                                                                   ~ AUnitedHealth Group Company

                                                       Lynn Gendreau, Director
                                                       ovations Medicare Operations
                                                       MNOOB·W140 9900 Bren Road East Minnetonka MN 55343
                                                       Tel 952-936-3241 Fax 952-936-3080


      MEMORANDUM
      To:            Jocelyn Williams
                     CSSC Operations AG-570                                 ~®f~\
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                                                                      ~~.
      Cc:            Susan Gruwell

      From:          Lynn Gendreau      Vj' v· 1                       \\\\ oc.1 11 r;§il l\,1\\
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                                                                         \~ ·~
      Date:          October 25, 2005                                     \                        -------

      Subject:       Additional H# contracts for Submitter IIlSlR6Sf \.-----------
                                                               <Sfio t5 \
      Dear Ms. Williams,                                       ~
        We have additional H#'s that need to be added to United Health submitter ID- SH1051.
        Attached is also the required EDI Enrollment Form request signed by our Chief Financial
        Officer, Jeff Putnam.
                                                                                        Effective Date
        H5500           United HealthCare Insurance Company - Alabama                       111106
        H5507           United HealthCare Insurance Company - Missouri                      111106
        H5515           United HealthCare Insurance Company- New York                       111106
        H5516           United HealthCare Insurance Company - North Carolina                111106
        H5518           United HealthCare Insurance Company - Ohio                          111106
        H5527           United HealthCare Insurance Company - Rhode Island                  111106
    v.15532             United HealthCare Insurance Company   - Tampa, FL                   111/06
    l.!1 3175           United HealthCare Insurance Company - Regional PPO Hawaii           111106
   \~5287"              United HealthCare Insurance Company - Regional PPO Florida          111106
/~~~ R5342              United HealthCare Insurance Company - Regional PPO New York         111109
VJ      H5652           United HealthCare Insurance Company - Erickson Advantage           10/1105
        H5678           United HealthCare Insurance Company - Erickson Advantage            111106
        H5697           United HealthCare Insurance Company · Erickson Advantage            111106
        H5754           United HealthCare Insurance Company - Erickson Advantage            111/06
        H5918           United HealthCare Insurance Company - Erickson Advantage            111106

      Thank you in advance.

      Attachment: EDI Enrollment Form


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                                                            d OVkTIONS
                                                               AlkiitediealthGroupCompany


                                                Lynn Gendreau, Director
                                                Ovations Medicare Operations
                                                MN008-W140 9900 Bren Road East Minnetonka MN 55343
                                                Tel 952-936-3241 Fax 952-936-3080
                                                Email Lynn Gendreau@uhc.com


MEMORANDUM

To:            Jocelyn Williams
               CSSC Operations AG-570

Cc:            William DeYoung

From:          Lynn Gendreau        ~
Date:          April 21, 2005

Subject:       EDI Enrollment Form for SH0151

Dear Ms. Williams,

Per our discussion on 4/20/05, attached is an original EDI enrollment form for our newly
submitted H#s (see below) signed by our Chief Financial Officer, Joseph Hafermann.
Please send confirmation ofH# linkage to our Submitter ID to me either via email or fax as
noted above. Thank you again for your assistance and prompt response.

(Original list submitted 4118105)
H0401          UnitedHealthcare of Arkansas, Inc.
H0624          Evercare Premier - Colorado
HI 111         UnitedHealthcare of Georgia, Inc.
Hl303          United HealthCare Insurance Company- Idaho
Hl509          United HealthCare Insurance Company - Indiana
H1717          United HealthCare Insurance Company - Kansas
H2001          United HealthCare Insurance Company - Maine
H2003          United HealthCare Insurance Company - Evercare Maine
.IDJ-B         Oxford Health Plans of New Jersey, Inc. - Evercare New Jersey
H3209          Evercare New Mexico
H3812          United HealthCare Insurance Company - Oregon
H3921          United HealthCare Insurance Company - Pennsylvania
H4106          Evercare Premier - Rhode Island
H4522          United HealthCare Insurance Company - New Mexico/Texas
H5008          Evercare Washington
H5424          United HealthCare Insurance Company - Hawaii
                                                                                        RECEIVED
H5440          Evercare Premier - Florida
                                                                                       APR 2 .2 2005
Attachment: EDI Enrollment Form                                                    MEDICARE PART A
                                                                                  DOCUMENT CONTRoL
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                                            EXHIBIT 8
